    Case 4:18-cr-00206-WTM-CLR Document 38 Filed 12/13/18 Page 1 of 1
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                                                             J.S. OrSThJC r C0UK7
               IN THE UNITED STATES DISTRICT COURT f6r"
                  THE SOUTHERN DISTRICT OF GEORGI^liOFC 13 pu rj. ct
                           SAVANNAH DIVISION

                                                           ;iEHK.
UNITED STATES OF AMERICA,

                                                 Case No.         CR418-206


MARK MACK,
                  Defendant.




     Amit M. Navare counsel of record for defendant Mark Mack in

the above-styled case has moved for leave of absence.               The Court is

mindful that personal and professional obligations require the

absence   of    counsel   on   occasion.   The    Court,     however,         cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     SO ORDERED this /jp— day of December 2018.




                                   WILLIAM T. MOORE, JR., JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
